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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                           MDL No. 2179
       “Deepwater Horizon” in the Gulf
       Of Mexico, on April 20, 2010
                                                          SECTION: J
This Document Relates to:
                                                          JUDGE BARBIER
Case No. 2:10-cv-04536
                                                          MAG. JUDGE SHUSHAN



    ORDER REGARDING ESTABLISHMENT OF DEADLINE FOR FILING THIRD
                      PARTY CLAIMS IN 10-4536

       BP Exploration & Production Inc., defendant, has moved the Court for an Order that

allows it until April 20, 2011, to file any third-party complaints, in the action brought against it

and other defendants on December 15, 2010. Establishment of this particular deadline will bring

into congruence the deadlines for cross-claims in MDL 2179 (see Record Doc. No. 1730) and

this action involving the United States’ claims under the Clean Water Act and Oil Pollution Act

of 1990. Accordingly,

       IT IS ORDERED that Defendant, BP Exploration & Production Inc. shall have until

April 20, 2011, to file any third-party complaints it may have, to the United States Complaint in

10-4536.

       New Orleans, Louisiana, this _____ day of April, 2011.

                                              __________________________________________
                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
